           Case 1:10-cv-05777-LAP Document 317 Filed 07/14/21 Page 1 of 1




                                 81,7('67$7(6',675,&7&2857
                                6287+(51',675,&72)1(:<25.

    -RQDWKDQ%HUDOO0'03+

                  Plaintiff

           Y
                                                         &$1RFY/$3'&)
    9HUDWKRQ,QF3HQWD[RI$PHULFD,QF+R\D
    &RUS+R\D'LJLWDO6ROXWLRQV&RUSDQG                        ORDER
    7HOHIOH[0HGLFDO,QF

                  Defendants


/25(77$$35(6.$81,7('67$7(6',675,&7-8'*(

         )RUWKHUHDVRQVVHWIRUWKDWRUDODUJXPHQWRQ-XQH'HIHQGDQW9HUDWKRQ,QF¶V

0RWLRQWR7UDQVIHU%DVHGRQ,PSURSHU9HQXH 'NW1R LV*5$17('7KHFODLPVDQG

FRXQWHUFODLPVEHWZHHQ3ODLQWLII-RQDWKDQ%HUDOO0'03+DQG'HIHQGDQW9HUDWKRQ,QFDUH

VHYHUHGIURPWKRVHFODLPVDQGFRXQWHUFODLPVEHWZHHQ%HUDOODQGWKHRWKHUGHIHQGDQWVLQWKH

DERYHFDSWLRQHGDFWLRQDQGWKH&OHUNRI&RXUWLVGLUHFWHGWRWUDQVIHUWKHFDVHEHWZHHQ%HUDOODQG

9HUDWKRQWRWKH:HVWHUQ'LVWULFWRI:DVKLQJWRQ7KHDERYHFDSWLRQHGDFWLRQUHPDLQVSHQGLQJ

DVWR'HIHQGDQWV7HOHIOH[0HGLFDO,QF3HQWD[RI$PHULFD,QF+R\D&RUSDQG+R\D'LJLWDO

6ROXWLRQV&RUSZKLFKVKDOOQRWEHWUDQVIHUUHG



6225'(5('

'DWHG July 14, 2021

         1HZ<RUN1HZ<RUN


                                                      /25(77$ $ 35(6.$ 8 6 ' -
                                                      /25(77$$35(6.$86'-
